
Turley, J.
delivered the opinion of the court.
This is an action of trespass on the case, for the loss of a negro, under the following circumstances:
The negro was hired, in the town of Nashville, at public auction, by the agent of the defendant. The terms of the hiring were proclaimed by the auctioneer at the time of the hiring, and were, that the hirer should give bond and security for the amount of the hire, and the requisite clothing, and that the negro should not be removed out of the county of Davidson. The agent executed the note in pursuance of the terms of the contract, but not specifying therein that the ne*107gro was not to be removed out of the county. The negro was, subsequently to the hiring, removed out of the county of Davidson, into the county of Dickson, and employed at the iron works of the defendant, where, in the course of the year, he sickened and died. The agent swears that, at the time of the hiring, he did not hear the auctioneer’s proclamation of the restriction upon the removal of the slave out of the county. Upon these facts, there was a verdict and judgment for the plaintiff, and, we think, correctly.
It is no defence that a person, buying or hiring at auction, did not hear the proclamation of the terms of sale or hiring, provided the same were publicly made; for it is his business, if he did not hear them, to inquire what they are — otherwise, the terms and conditions of auction sales might be always defeated. But it is further argued that, inasmuch as the nóte was executed for the price of the'hire, it must be-presumed that it contains all the terms of the contract, and thát no parol proof can be heard to add to its obligations.'
We cannot maintain the correctness of this argument.— There are two terms of the contract; one, that a note for the hire, with bond and security, should be given, and the other, that the negro should not be removed from the county. One of the terms the defendant complied with — the execution of the note — the other, the non removal of the negro, he did not. It never was the intention that the note should contain a specification that the negro was not to be removed from the county of Davidson, and there is no necessity that it should.
Let the judgment of the Circuit Court be affirmed.
